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                     IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH


. UNITED STATES OF AMERICA                     Case No. 2:21-cr-00264-DBB
                                      '
        Plaintiff,                             STATEMENT BY DEFENDANT IN
                                               ADVANCE OF PLEA OF GUILTY
        vs.                                    AND PLEA AGREEMENT PURSUANT
                                               TO FED. R. CRIM. P. l l(c)(l)(C)
 JOEL LEHI ORGANISTA,

        Defendant.                             Judge David Barlow


        I hereby acknowledge and certify that I have been advised of and that I understand
the following facts and rights, and that I have _h~d th_e assisJance of c;jOUns~l in reviewJng, -fJ, .,I.-
explaining, and entering into this _agreeqient~.*.J-.!
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        I.     As part of this agreement with the United States of America ("United      tv /? {_.,,       .
States"), I intend to plead guilty to Counts 1 and 3 of the lndictmen£tvly attorney has de£er'IS< e.oJrlSf.
explained the nature of the charges against me, and I have had an opportunity to discuss                   ·
the nature of the charges with my attorney. I understand the charges and what the United
States is required to prove in order to convict me. The elements of Count 1, Production
of Child Pornography, a violation of 18 U.S.C. § 225l(a) and (e), are:

       I . That I knowingly attempt to employ, use, persuade, induce, entice and coerce a
       mmor,

       2. To engage in sexually explicit conduct for the purpose of producing any visual
       depiction of such conduct,

       3. Knowing and having reason to know that such visual depiction would be
       transported and transmitted using any means and facility of interstate commerce
       and in and affecting interstate and foreign commerce,
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        4. Using materials that have been mailed, shipped, and transported in and affe~ting
        interstate and foreign commerce by any means, including by computer,

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        5. And the visual depiction was transported and transmitted using any means and
        facility of interstate and foreign commerce and in and affecting interstate and
        foreign commerce, and attempted to do so,

        6. All in violation of 18 U.S.C. § 225l(a) and (e)

      The elements of Count 3, Transportation of Child Pornography, a violation of 18
U.S.C. § 2251(a) and (e), are:

        1. That I did knowingly transport any child pornography, as defined in 18 U.S.C. §
        2256(8),

        2. Using any means or facility of interstate and foreign commerce, and in and
        affecting interstate and foreign commerce by any means,

        3. Including by computer, and attempted to do so; all in violation of 18 U.S.C. §
        2252A(a)(l) and (b)(l).

        2.     I know that the maximum possible penalty provided by law for Count 1 of
the Indictment, a violation of 18 U.S.C. § 2251(a) and (e), Production of Child
Pornography, is a maximum term of imprisonment of thirty years, a minimum mandatory
sentence of fifteen years, a maximum fine ofup to $250,000, a mandatory minimum term
of five years supervised release and a statutory maximum term of supervised release of
life, and any applicable forfeiture. I understand that if I violate a term or condition of
supervised release, I can be returned to prison for the length of time provided in 18
U.S.C. § 3583(e)(3).

       I know that the maximum possible penalty provided by law for Count 3 of
the Indictment, a violation of 18 U.S.C § 2252A(a)(l) and (b)(l) Transportation of Child
Pornography, is a maximum term of imprisonment of twenty years, a minimum
mandatory sentence of five years, a maximum fine ofup to $250,000, a mandatory
minimum term of five years of supervised release and a statutory maximum term of
supervised release of life, and any applicable forfeiture. I understand that if I violate a
term or condition of supervised release, I can be returned to prison for the length of time
provided in18 U.S.C. § 3583(e)(3).

        Additionally, I know the Court is required to impose the following assessments:

               1.    Under the Amy, Vicky, and Andy Child Pornography Victim
                     Restitution Act of 2018 ("AVAA") and pursuant to 18 U.S.C.
                     § 2259A, the court may impose an assessment up to the amount of

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                     $17,000 ifl have been convicted of 18 U.S.C. § 2252A(a)(5). I
                     understand that imposition of this assessment is guided by the
                     factors listed in 18 U.S.C. § 3553(a) and§ 3572. I understand that
                     the court may consider my ability to pay when imposing this
                     assessment;
              2.     Under the Justice for Victims of Trafficking Act of 2015 ("NTA")
                     and pursuant to 18 U.S.C. § 3014, the court must impose an
                     assessment in the amount of $5,000 on any non-indigent person
                     convicted of an offense relating to the sexual exploitation of
                     children. I understand that imposition of this assessment is guided
                     by factors listed in 18 U.S.C. § 3553(a) and§ 3572. I understand the
                     court may consider my future ability to pay when imposing this
                     assessment;
              3.     The amount of $100 for each offense of conviction, pursuant to 18
                     U.S.C. § 3013.

       Furthermore, restitution to the victims of my offense shall be ordered pursuant to
       18 U.S.C. §§ 2259 and 3663A.

        I understand that, if I am not a United States citizen, I may be removed from the
        United States, denied citizenship, and denied admission to the United States in the
        future.

        3.     I know that the sentencing procedures in this case and the ultimate sentence
will be determined pursuant to 18 U.S.C. § 3553(a), and that the Court must consider, but
is not bound by, the United States Sentencing Guidelines, in determining my sentence. I
have discussed these procedures with my attorney. I also know that the final calculation
of my sentence by the Court may differ from any calculation the United States, my
attorney, or I may have made, and I will not be able to withdraw my plea if this occurs.
However, because my plea of guilty is being entered pursuant to Rule 11 (c)( 1)( C), as
explained below, I know that I will be able to withdraw my plea if the Court does not
accept the terms of this agreement.

       4.     I know that I can be represented by an attorney at every stage of the
proceeding, and I know that ifl cannot afford an attorney, one will be appointed to
represent me.

      5.     I know that I have a right to plead "Not Guilty" or maintain my earlier plea
of "Not Guilty" and can have a trial on the charges against me.

       6.    I know that I have a right to a trial by jury, and I know that if I stand trial
by a jury:



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                        a. I have a right to the assistance of counsel at every stage of the
              proceeding.

                        b. I have a right to see and observe the witnesses who testify
              against me.

                        c. My attorney can cross-examine all witnesses who testify
              against me.

                        d. I can call witnesses to testify at trial, and I can obtain
              subpoenas to require the attendance and testimony of those witnesses. If I
              cannot afford to pay for the appearance of a witness and mileage fees, the
              United States will pay them.

                          e. I cannot be forced to incriminate myself, and I do not have to
              testify at any trial.

                        f. If I do not want to testify, the jury will be told that no
              inference adverse to me may be drawn from my election not to testify.

                        g. The United States must prove each and every element of the
              offense charged against me beyond a reasonable doubt.

                         h. It requires a unanimous verdict of a jury to convict me.

                         i. If I were to be convicted, I could appeal, and if I could not
              afford to appeal, the United States would pay the costs of the appeal,
              including the services of appointed counsel.

       7.     If I plead guilty, I will not have a trial of any kind.

        8.    I know that 18 U.S.C. § 3742(c)(l) sets forth the circumstances under
which I may appeal my sentence. However, fully understanding my right to appeal my
sentence, and in consideration of the concessions and/or commitments made by the
United States in this plea agreement, I knowingly, voluntarily and expressly waive my
right to appeal as set forth in paragraph 12 below.

       9.    I know that, under 18 U.S.C. § 3742(c)(2), the United States may only
appeal my sentence if it is less than the sentence set forth in this agreement.

       I 0.   I know that under a plea of guilty the judge may ask me questions under
oath about the offense. The questions, if asked on the record and in the presence of
counsel, must be answered truthfully and, if I give false answers, I can be prosecuted for
perjury.


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      11.   I stipulate and agree that the following facts accurately describe my
conduct. These facts provide a basis for the Court to accept my guilty plea:

        In January 2021, Dropbox reported a user uploaded child pornography to their
account. There were two more tips from MCMEC in February about the same user. A
search warrant to the Dropbox produced images and videos of child pornography
contained in folders labeled "Young" and "Baby Vids." Information in the Dropbox led
to a residential search warrant in Salt Lake City.

        A residential search on June 2, 2021, reveled devices containing more than 10 and
less than 150 images of child pornography of prepubescent minors and account
information from the suspect Dropbox Account. The defendant, Joel Organista, admitted
to owning the Dropbox account, and downloading, viewing, and saving child
pornography. Organista admitted to using Snapchat to contact minor children and solicit
them for child pornography and to preform sexual acts for him via video chat. Organista
admitted during the chats he and the children would "jerk off together."

       In one of the video chats, a child who identified himself as being 13 years old
(Victim A) sent images of small an erect penis and in one Victim A is holding his erect
penis. Victim A was then asked by Organista to "finger his hole," the child responded by
asking if he needed to "do finger" or if he could "do pencil or something." Organista said
he could use an item, and that he wanted to see the child perform the sex act. The child
uploaded a video which shows a close-up of pencil inserted between his butt cheeks,
Victim A moves the pencil in and out. Victim A comments that the pencil hurts, and
Organista tells him to get a smaller one.

      My participation in these events occurred in Utah. I acknowledge that all the
elements of Count 1, Production of Child Pornography, a violation of 18 U.S.C. §
225l(a) and (e) and Transportation of Child Pornography, a violation of 18 U.S.C. §
225l(a) and (e), are satisfied based on my conduct in this case.

      12.   The only terms and conditions pertaining to this plea agreement between
me and the United States are as follows:

      a.     Guilty Plea. I will plead guilty to Counts 1 and 3 of the Indictment.

      b.    Stipulated Sentence. Pursuant to Rule 1 l(c)(l)(C) of the Federal Rules of
      Criminal Procedure, the sentence imposed by the Court will be 180 months of
      imprisonment, which I agree is a reasonable sentence. The sentence will nm
      concurrently with the sentence in Utah Third District Court Case 211905997.

                           (1)     I understand that this agreement, including my plea,
             the agreed upon sentence, and all other terms referenced herein, are subject
             to the approval of, and acceptance by the Court. r further understand that

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           the Court will likely order the preparation of a Presentence Report to assist
           in the determination of whether this plea and the agreement are appropriate,
           and I agree to fully cooperate in the preparation of the Presentence Report.

                          (2)    If, after receiving all relevant information, the Court
           rejects the plea agreement and determines that a sentence different from the
           agreed upon sentence of 180 months of incarceration will be imposed, I
           will have the right to withdraw the plea of guilty and the terms of this
           agreement will become null and void. Likewise, if the Court rejects the
           plea agreement and determines that the sentence should be less than 180
           months, I understand that the United States will have the right to move to
           vacate this agreement, and all terms of this agreement will become null and
           void.

                         (3)    I understand the United States will seek a lifetime term
           of supervised release.

    c.      Relevant Conduct. I understand and agree that the Presentence Report
    may include descriptions of conduct I engaged in which either was not charged
    against me, will not be pleaded to by me, or both. I understand and agree that the
    Court will take these facts into consideration in determining the reasonableness of
    the stipulated sentence.


    d.     Appeal Waiver.

                                 (1)   Fully understanding my limited right to appeal
                 my sentence, as explained above in paragraph 8, and in
                 consideration of the concessions and/or commitments made by the
                 United States in this plea agreement, I knowingly, voluntarily, and
                 expressly waive my right to appeal any sentence imposed upon me,
                 except that I do not waive the right to appeal as set forth in 18
                 U.S.C. § 3742(c)(l), which states that I may not file a notice of
                 appeal unless the sentence imposed is greater than the sentence set
                 forth in this agreement. I also knowingly, voluntarily, and expressly
                 waive any argument (1) that the statute(s) to which I am pleading
                 guilty is/are unconstitutional or (2) that my admitted conduct does
                 not fall within the scope of the statute(s).

                               (2)    I also knowingly, voluntarily, and expressly
                 waive my right to challenge my sentence, unless the sentence
                 imposed is greater than the sentence set forth in this agreement, and
                 my conviction, in any collateral review motion, writ or other
                 procedure, including but not limited to a motion brought under 28

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                 U.S.C. § 2255, except on the issue of ineffective assistance of
                 counsel. This waiver includes any motion for modification of my
                 sentence under 18 U.S.C. § 3582(c)(2).

                                (3)    I understand that this waiver of my appeal and
                 collateral review rights concerning my sentence shall not affect the
                 United States' right to appeal my sentence pursuant to 18 U.S.C. §
                 3742(c)(2) and§ 3742(b)(l) and (2).

                               (4)     I further understand and agree that the word
                 "sentence" appearing throughout this waiver provision is being used
                 broadly and applies to all aspects of the Court's sentencing authority,
                 including, but not limited to: (1) sentencing determinations; (2) the
                 imposition of imprisonment, fines, supervised release, probation, and
                 any specific terms and conditions thereof; and (3) any orders of
                 restitution.

                               (5)    Additionally, I waive all rights to appeal any
                 issues regarding my right to presence and the validity of my remote
                 appearance for this and any other hearings held in this matter.

      e. Presentence Report and Financial Information. I agree to provide
      truthful and complete information, including financial information, as requested
      by the probation office for the preparation of my presentence report and for
      determination of the conditions of my supervised release. I also consent to
      allowing the United States Attorney' s Office to run a credit check on me. I
      consent to being placed on the Treasury Offset Program and State Finder.

      f. Restitution.

                 (1)      I agree that I am subject to mandatory restitution because
   my case falls within the provisions of 18 U.S.C. § 3663A(a)(l) and (c)(l) [based
   on the charge[ s] to which I am pleading guilty] [based on an offense described in §
   3663A(c)(l) that gave rise to this plea agreement]. My attorney has explained
   what mandatory restitution means. I also agree to pay restitution to victims of
   unpleaded or uncharged relevant conduct pursuant to 18 U.S.C. § 3663A(a)(3).

         Pursuant to 18 U.S.C. § 2259, I understand and agree that for this
   conviction, mandatory restitution is not less than $3000 per victim.

                 (2)    I understand that the amount of restitution and the schedule of
   payments will be determined as a part of the sentencing proceedings in accordance
   with the provisions of 18 U.S.C. § 3664. I agree to pay all restitution as ordered
   by the Court. I agree that the payment and enforcement of my restitution order is

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        governed by 18 U.S.C. § 3664, and my lawyer has explained the consequences of
        an order of restitution.

                       (3)    I understand and agree that payment of any restitution owed,
        pursuant to the schedule set by the Court at sentencing, should be a condition of
        any term of probation or supervised release imposed upon me. I know that if I fail
        to pay restitution as ordered, the failure can be considered a violation of probation
        or supervised release and, pursuant to 18 U.S.C. § 3614, the Court can resentence
        me to any sentence which might originally have been imposed in my case.

                          g. Waiver of Interest. The United States agrees to recommend
               that the Court waive interest for fines and restitution assessed against me.

13.    I understand and agree that this plea agreement is solely between me and the
United States Attorney for the District of Utah and does not bind any other federal , state,
or local prosecuting, administrative, or regulatory authorities.

14.    I understand that I have a right to ask the Court any questions I wish to ask
concerning my rights about these proceedings and the plea.

15.      Notice of Sex Offender Registration. I know that under the Sex Offender
Registration and Notification Act, a federal law, I must register and keep the registration
current in each of the following jurisdictions: the location of my residence, the location of
my employment; and, if I am a student, the location of my school. Registration will
require that I provide information that includes name, residence address, and the names
and addresses of any places at which I am or will be an employee or a student. I
understand that I must update my registrations not later than three business days after any
change of name, residence, employment, or student status. I understand that failure to
comply with these obligations subjects the defendant to prosecution for failure to register
under federal law, 18 U.S.C. '2250, which is punishable by a fine or imprisonment, or
both.

                                  *     *      *     *

        I make the foll.owing representations to the Court:                                     J
                                                                   U~Je5ra~u~i~           ~°l
        I.     lam~ years of age. My education consists of         4 "4ii½j,;, ~ ..u!.:f.....__.
 I    tan          [can/cannot] read and understand English.

       2.     This Statement in Advance contains all tenns of the agreement between me
 and the United States; if there are exceptions, the Court will be specifically advised, on
 the record, at the time of my guilty plea of the additional terms. I understand the United
 States and I cannot have terms of this plea agreement that are not disclosed to the Court.



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      3.     No one has made threats, promises, or representations to me that have
 caused me to plead guilty, other than the provisions set forth in this agreement.

       4.    Neither my attorney nor the United States has promised me that I would
 receive probation or any other form of leniency because of my plea.

       5.    I have discussed this case and this plea with my lawyer as much as I wish,
 and I have no additional questions.

       6.     I am satisfied with my lawyer.

       7.     My decision to enter this plea was made after full and careful thought; with
 the advice of counsel; and with a full understanding of my rights, the facts and
 circumstances of the case and the consequences of the plea. I was not under the
 influence of any drugs, medication, or intoxicants when I made the decision to enter the
 plea, and I am not now under the influence of any drugs, medication, or intoxicants.

       8.     I have no mental reservations concerning the plea.

       9.     I understand and agree to all of the above. I know that I am free to change
 or delete anything contained in this statement. I do not wish to make changes to this
 agreement because I agree with the terms and all of the statements are correct.
                        :t~           ~
       DATED this     t     day ofc..Jflfl\J~~           (Y~dQ_


                                                   ~N~
                                                   Defendant


       I certify that I have discussed this plea agreement with the defendant, that I have
fully explained his rights to him and that I have assisted him in completing this written
agreement. I believe that he is knowingly and voluntarily entering the plea with full
knowledge of his legal rights and that there is a factual basis for the plea.
                          ·ti
       DATED this    Z , day of Jaf\Ucl]                  ;Wd.'J,



                                                   c,fl~~
                                                   Attorney for Dcfondant


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       I represent that all terms of the plea agreement between the defendant and the
United States have been, or will be at the plea hearing, disclosed to the Court, and there
are no undisclosed agreements between the defendant and the United States.

       DATED this _ _5!!! _     day of   January

                                                 ANDREA T. MARTINEZ
                                                 Acting United States Attorney

                                                 Isl Ryan N Holtan

                                                 RYANN. HOLTAN
                                                 Special Assistant United States Attorney




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